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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

FRANK C. LOVE                              *
                                           *
                     Plaintiff             *
                                           *
V.                                         *
                                           *               NO: 4:14CV00715 SWW
JONATHON COATS                             *
                                           *
                     Defendant             *
                                           *


                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that Plaintiff’s claims arising under federal law and brought pursuant to 42

U.S.C. § 1983 are DISMISSED WITH PREJUDICE, and Plaintiff’s supplemental state law

claims are DISMISSED WITHOUT PREJUDICE. This action is hereby DISMISSED IN ITS

ENTIRETY.

       IT IS SO ORDERED THIS 30TH DAY OF JUNE, 2015.

                                                  /s/Susan Webber Wright

                                                  UNITED STATES DISTRICT JUDGE
